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                                                                        Tenth Circuit


                         UNITED STATES COURT OF APPEALS
                                                                             December 8, 2024
                                                                           Christopher M. Wolpert
                                FOR THE TENTH CIRCUIT                          Clerk of Court
                            _________________________________

    KEVIN UNDERWOOD,

          Plaintiff - Appellant,
                                                         Appeal Number Pending *
    v.                                                  (D.C. No. 5:24-CV-1266-G)
                                                               (W.D. Okla.)
    OKLAHOMA PARDON AND PAROLE
    BOARD, et al.,

          Defendants - Appellees.
                         _________________________________

                                         ORDER
                            _________________________________

Before MATHESON, BACHARACH, and ROSSMAN, Circuit Judges.
                  _________________________________

          Plaintiff Kevin Underwood has filed a Request for a Stay of Clemency

Proceedings and Execution. The court has determined that it would be helpful to obtain a

response regarding the portion seeking a stay pending appeal of the clemency hearing.

On or before 4:00 p.m. Central Standard Time on December 9, 2024, the defendants shall

file a response to the plaintiff’s request for a stay of the clemency proceedings. On or

before 9:00 a.m. Central Standard Time on December 10, 2024, Plaintiff may file a reply.

To facilitate the court’s consideration of the motion, response, and optional reply, the




*
 Mr. Underwood filed a notice of appeal at 2:12 p.m. MST on Sunday, December 8,
2024. At this time, the electronic docket for this appeal has not yet been created.
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court enters a temporary stay of the clemency proceedings scheduled for December 9,

2024.


                                           Entered for the Court,



                                           CHRISTOPHER M. WOLPERT, Clerk




                                          2
